Case 2:12-cv-05022-PBT                 Document 15      Filed 01/31/13        Page 1 of 1
   Case 2:12-cv-05022-PBT Document 14 Filed 01/29/13 Page 1 of 1




GRRG l)ROSMUSHIGN, P.C.
   Murl{ Yurovslcy, Esquire
Altorncy ID No.: 84904
9637 Bustleton Avenue
Philadelphia, PA 19152
(:ns) 673-7733                  Attmney fol' Plaintiff
~~~~~~~~--.......====•:==•==:==·=·=---···=-""'··--======
BORlS NIKOLAEVSKY

                        Plaintiff,              UNITED STATES DISTRICT COURT
       v.                                       EASTERN JllSTRICT OF
                                                J•ENNSYLVANIA
LA FITNESS INTERNATIONAL, LLC
d/bh1 LA FITNESS SPORTS CLUB
               and
LA FITNESS SPORTS CLUB;                              Civil Case N().: 2:12-CV-05022-PBT

                     Defendant.

                                     STIPULATIW ORD.l~R

       AND NOW this 24 day of January, 20l3, it is h..:rch)' Stipulated and /\gl'eed
bclwccn counsel for nil parties involved, that Plaintifrs, Boris Nikolacvsky, total
damages recoverable in tltis matter shall be less thnn Seventy rive Thousnncl
($75,000.00) Dollars,
       IT IS FURTHER stipulnted that this mater shall be nEMANDED to the Comt
of Common Pleas, Philadelphin County.



  /
---
     /2 ~-~"'? .,..~··
      ~---
          ./ ?-"
                 /""'
MARK YUROVSKY:ESQiJJ'
Attorney for Plaintiff(._>:./
Boris Nikolacvsky


                                        APROVIm BY THE COURT:
